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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION


 BONNIE HEATHER MILLER, and
 LEAGUE OF WOMEN VOTERS OF
 ARKANSAS,

                        Plaintiffs,
                                                     Case No. 5:20-cv-05163-TLB
                       v.
                                                     Hon. Timothy L. Brooks
 JOHN THURSTON, in his official capacity
 as Secretary of State of Arkansas,

                        Defendant.



               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

        Plaintiffs Bonnie Heather Miller and the League of Women Voters of Arkansas

(“Plaintiffs”) respectfully move this Court for a preliminary injunction as set out in the

accompanying Brief in Support of Plaintiffs’ Motion for Preliminary Injunction. Fed. R. Civ.

P. 65(a); Local Rule 7.2(e). Plaintiffs seek as applied relief from Arkansas’s requirement that

Plaintiffs submit a statement indicating that paid canvassers “passed” a state and federal

criminal background check conducted by the Arkansas State Police when the State Police does

not conduct federal criminal background checks and, in any event, does not indicate whether

a person “passed” (or failed) the background check. Because it is impossible to comply with

the statute, Defendant has refused to conduct the signature verification analysis of the

approximately 150,000 signatures collected for two different initiative petitions.




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          WHEREFORE, Plaintiffs respectfully request that the Court grant their Motion and

issue a preliminary injunction pending a decision on the merits of Plaintiffs’ claims in this

matter.

Dated: September 2, 2020

Respectfully submitted,


 Ruth Greenwood*                                   /s/ David A. Couch
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* Motions for pro hac vice forthcoming




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                              CERTIFICATE OF SERVICE

       I certify that on September 2, 2020, I caused a copy of Plaintiffs’ Complaint, along

with the foregoing Motion and the accompanying Brief and Exhibits, to be served upon counsel

for Defendant by e-mail at the address below. I will also contact Counsel for Defendant by

phone to confirm that he will accept service on behalf of Defendants.

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                                                    /s/ David A. Couch
                                                    David A. Couch

                                                    Counsel for Plaintiffs




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